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 1   RON BENDER (SBN 143364)
     MONICA Y. KIM (SBN 180139)
 2   KRIKOR J. MESHEFEJIAN (SBN 255030)
 3   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
     10250 Constellation Boulevard, Suite 1700
 4   Los Angeles, California 90067
     Telephone: (310) 229-1234
 5   Facsimile: (310) 229-1244
     Email: rb@lnbyb.com; kjm@lnbyb.com
 6
     Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 7

 8                         UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 9                              SAN FERNANDO DIVISION
10
     In re:                                       Lead Case No.: 1:17-bk-12408-MB
11

12   IRONCLAD PERFORMANCE WEAR                    (Proposed to be) Jointly administered with:
     CORPORATION, a California
13   corporation,                                 1:17-bk-12409-MB
                                                  (Ironclad Performance Wear Corporation, a
14             Debtor and Debtor in               Nevada corporation)
15   Possession.
     _________________________________            Chapter 11 Cases
16   In re:

17   IRONCLAD PERFORMANCE WEAR
     CORPORATION, a Nevada corporation,           NOTICE     OF    HEARINGS  ON
18                                                EMERGENCY “FIRST DAY” MOTIONS
19              Debtor and Debtor in              FILED BY DEBTORS
     Possession.
20   _________________________________            Emergency Hearing Schedule:
                                                  Date: September 13, 2017
21      Affects both Debtors                      Time: 2:00 p.m.
                                                  Place: Courtroom 303
22     Affects Ironclad Performance Wear                 21041 Burbank Blvd.
23   Corporation, a California corporation only          Woodland Hills, CA 91367

24     Affects Ironclad Performance Wear
     Corporation, a Nevada corporation only
25

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 1            PLEASE TAKE NOTICE that, on September 13, 2017, at 2:00 p.m., the Court will hold

 2   hearings on the below-listed emergency motions (the “Motions”) filed by Ironclad Performance

 3   Corporation, a California corporation (“Ironclad California”), and Ironclad Performance

 4   Corporation, a Nevada corporation (“Ironclad Nevada”), the debtors and debtors in possession in

 5   the above-referenced Chapter 11 bankruptcy cases proposed to be jointly-administered.          The

 6   hearing will be held at the United States Bankruptcy Court for the Central District of California –

 7   San Fernando Division, in Courtroom 303, located at 21041 Burbank Blvd., Woodland Hills, CA

 8   91367.

 9            PLEASE TAKE FURTHER NOTICE that the Motions, and other papers filed in

10   support of the Motions, will be served upon you on September 11, 2017, via overnight mail, such

11   that you will receive the Motions and other papers no later than the morning of September 12,

12   2017. Any parties seeking to obtain additional copies of the Motions may do so by contacting

13   proposed counsel to the Debtors whose contact information is as follows: Levene, Neale, Bender,

14   Yoo & Brill, L.L.P., Attn: Krikor J. Meshefejian, Esq., Email: kjm@lnbyb.com, Tel: (310) 229-

15   1234, Fax: (310) 229-1244, Address: 10250 Constellation Blvd., Suite 1700, Los Angeles, CA

16   90067.

17            The Motions that the Court will consider are:

18            1.     DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN INTERIM ORDER:

19   (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING

20   PURSUANT TO 11 U.S.C. §§ 105, 361, 362 AND 364, AND (B) UTILIZE CASH

21   COLLATERAL PURSUANT TO 11 U.S.C. §§ 361, 362, 363 AND 364; (II) GRANTING

22   ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§ 361, 362, 363 AND 364; (III)

23   SCHEDULING A FINAL HEARING PURSUANT TO BANKRUPTCY RULES 4001(b) AND

24   4001(c); AND (IV) GRANTING RELATED;

25            2.     DEBTORS’ MOTION FOR AN ORDER: (1) APPROVING FORM OF ASSET

26   PURCHASE AGREEMENT FOR STALKING HORSE BIDDER AND FOR PROSPECTIVE

27   OVERBIDDERS TO USE, (2) APPROVING AUCTION SALE FORMAT, BIDDING

28


                                                      2
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 1   PROCEDURES, AND STALKING HORSE BID PROTECTIONS; (3) APPROVING FORM OF

 2   NOTICE TO BE PROVIDED TO INTERESTED PARTIES; AND (4) SCHEDULING A COURT

 3   HEARING TO CONSIDER APPROVAL OF THE SALE TO THE HIGHEST BIDDER;

 4          3.      DEBTORS’ EMERGENCY MOTION FOR AUTHORITY TO FILE LETTER

 5   AGREEMENT UNDER SEAL;

 6          4.      DEBTORS’       EMERGENCY    MOTION     FOR    ENTRY     OF    AN   ORDER

 7   AUTHORIZING DEBTORS TO (1) PAY PRE-PETITION WAGES; AND (2) HONOR

 8   ACCRUED VACATION AND LEAVE BENEFITS;

 9          5.      DEBTORS’       EMERGENCY    MOTION     FOR    ENTRY     OF    AN   ORDER

10   AUTHORIZING DEBTORS TO PROVIDE ADEQUATE ASSURANCE OF FUTURE
11   PAYMENT TO UTILITY COMPANIES PURSUANT TO SECTION 366(c) OF THE
12   BANKRUPTCY CODE; and
13          6.      DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN ORDER: (A)
14   AUTHORIZING THE CONTINUED USE OF CERTAIN PORTION OF THE DEBTORS’ CASH
15   MANAGEMENT SYSTEM, (B) AUTHORIZING THE MAINTENANCE OF PAYROLL AND
16   RECEIVABLES BANK ACCOUNTS; AND (C) AUTHORIZING BANKS TO RELEASE
17   ADMINISTRATIVE HOLDS AND/OR FREEZES ON THE DEBTORS’ PRE-PETITION
18   ACCOUNTS
19          PLEASE TAKE FURTHER NOTICE that objections to the Motions may be made

20   orally at the hearings on the Motions.

21   Dated: September 11, 2017                IRONCLAD PERFORMANCE WEAR
22                                            CORPORATION, et al.

23                                            By:    /s/ Krikor J. Meshefejian
                                                     RON BENDER
24                                                   MONICA Y. KIM
                                                     KRIKOR J. MESHEFEJIAN
25
                                                     LEVENE, NEALE, BENDER, YOO
26                                                   & BRILL L.L.P.
                                                     Proposed Counsel for Chapter 11 Debtors
27                                                   and Debtors in Possession

28


                                                 3
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 1
                                   PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067
 3
     A true and correct copy of the foregoing document entitled NOTICE OF HEARINGS ON EMERGENCY
 4   “FIRST DAY” MOTIONS FILED BY DEBTORS will be served or was served (a) on the judge in
     chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
 5
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On September 11, 2017, I checked the CM/ECF docket for this bankruptcy
 7   case or adversary proceeding and determined that the following persons are on the Electronic Mail
     Notice List to receive NEF transmission at the email addresses stated below:
 8
              Ron Bender rb@lnbyb.com
 9            S Margaux Ross margaux.ross@usdoj.gov
              United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
10            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

11   2. SERVED BY UNITED STATES MAIL: On September 11, 2017, I served the following persons
     and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
12   true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
     and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
13   completed no later than 24 hours after the document is filed.

14                                                                           Service information continued on attached page

15   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
16   on September 11, 2017, I served the following persons and/or entities by personal delivery, overnight
     mail service, or (for those who consented in writing to such service method), by facsimile transmission
17   and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
     overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
18
     Served via Attorney Service
19   Hon. Martin R. Barash
     United States Bankruptcy Court
20   21041 Burbank Boulevard, Suite 342
     Woodland Hills, CA 91367
21
                                                                              Service List served by Overnight Mail attached
22
     I declare under penalty of perjury under the laws of the United States of America that the foregoing is
23   true and correct.

24    September 11, 2017                    Stephanie Reichert                          /s/ Stephanie Reichert
      Date                                  Type Name                                   Signature
25
26
27
28

      This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

     June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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Served by Overnight Mail:

  Ironclad Performance Wear (8300)      United States Trustee                  U. S. Securities and Exchange
  OUST, Secured & Top 20                915 Wilshire Blvd., Suite 1850         Commission
                                        Los Angeles, California 90017          Attn: Bankruptcy Counsel
                                                                               444 South Flower Street, Suite 900
                                                                               Los Angeles, CA 90071-9591

  Secured Creditor                      Counsel to Radians Wareham Holdings    Counsel to Radians Wareham Holdings
  Radians Wareham Holding, Inc.         E. Franklin Childress, Jr.             Sharon Z. Weiss
  Attn: Mike Tutor, CEO                 Baker, Donelson, Bearman, Caldwell &   Bryan Cave
  5305 Distriplex Farms                 Berkowitz, PC                          120 Broadway, Suite 300
  Memphis, TN 38141                     165 Madison Ave, Suite 2000            Santa Monica, CA 90401
                                        Memphis, Tennessee 38103



  Top 20 Unsecured Creditors:



  Advantage Media Services, Inc.        Danny Negara                           Eliza Yang
  Attn: Steven Helmle                   Mercindo Global Manufaktur             Nantong Changbang Gloves Co.
  29010 Commerce Center Drive           Jl. Raya Semarang-Bawen Km.29          Flat/RM 1602 Chit Lee Comm
  Valencia, CA 91355                    SEemerang, Central Java                Bldg 30-36, Shau Kei Wan Road
                                        50661, Indonesia                       Hong Kong, China

  Gerard                                Kwong                                  Mark Robba
  BDO USA, LLP                          PT JJ GLOVES INDO                      PT SPORT GLOVE INDONESIA
  P. O. BOX 677973                      JL Ronggowarsito, Mlese, Ceper         Krandon Desa Pandowoharjo
  Dallas, TX 75267-7973                 Bonded Zone, Klaten                    Sleman
                                        Central Java, Indonesia, 57463         Yogyakarta, Indonesia, 55512

  Daniel Gomes                          Brent Waters                           Skadden Arps Slate Meagher & Flom
  Capital One Bank                      Resources Global Professionals         LLP
  P. O. BOX 1917                        P.O. Box 740909                        P O Box 1764
  Merrifield, VA 22116-1917             Los Angeles, CA 90074-0909             White Plains, NY 10602


  Carol Pearson                         Risk Consulting Partners               Robert Tejeda
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  PO Box 7221                           Chicago, IL 60673-1247                 15260 Ventura Blvd
  Pasadena, CA 91109-7321                                                      20th Floor
                                                                               Sherman Oaks, CA 91403

  Ms. Vicz Yue                          Shur-Sales & Marketing, Inc.           John Calhoun
  Ka Hung Glove Inustrial Co. Ltd.      3830 S Windermere St.                  Synetra
  Fujian Quanzhou Jiacheng Leather      Englewood, CO 80110                    1110 E. State Highway 114
  Chi Feng Road, Quanzhou City                                                 Suite 200
  Fujian, 362000, China                                                        Southlake, TX 76092


  Sky Lin                               Carla Durand                           Bradley J. S. Weiss
  Marusan - Mimasu Tshusho Co. Ltd.     University of Milwaukee                Winspeed Sports Shanghai Co., Ltd.
  No 1 Queen' Road Central              P O Box 500                            858 Mingzhu Road
  Hong Kong                             University of Wisconsin - Milwaukee    Shanghai
  China                                 Milwaukee, WI 53201                    China, 00020-1702

  Janice Lee                            Liliana Dominguez                      1920 Hutton Court
  Woneel Midas Leathers                 Yellow and Roadway                     Attn: Johnny Clark
  Jl Gembor Raya Desa Pasirjaya         P. O. Box 100129                       Inwood National Bank
  Tangerang                             Pasadena, CA 91355                     P O Box 857413
  Banten, Indonesia, 15135                                                     Richardson, TX 75085
